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                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

JOHN SCOTT CASTO, II,

               Plaintiff,

       v.                                                       Civil Action No. 3:16-cv-05848

BRANCH BANKING AND
TRUST COMPANY,

               Defendant.

                        DEFENDANT’S REPLY IN SUPPORT OF ITS
                          MOTION FOR SUMMARY JUDGMENT

       Defendant Branch Banking and Trust Company (“BB&T”), by counsel, submits this

Reply Memorandum in support of its Motion for Summary Judgment against the Complaint filed

by John Scott Casto, II (“Plaintiff”).

                                    I.         INTRODUCTION

       In Plaintiff’s Response to BB&T’s Motion and Memorandum in Support for Summary

Judgment (“Plaintiff’s Opposition”) he fails to rebut any of BB&T’s arguments in favor of

summary judgment. Instead, Plaintiff seeks to focus only on their belief (but without citing any

admissible evidence) that BB&T’s statutory registered agent, CT Corporation, received a cease

and desist letter sometime before January 6, 2016. Plaintiff cannot point to a single material fact

which supports this belief. Because there are no genuine issues of material fact, Plaintiff’s

Complaint cannot survive summary judgment.

                                         II.    ARGUMENT

       A.      Plaintiff Presents Only Speculation and No Facts to Contradict that CT
               Corporation Received the Cease and Desist Letter on January 6, 2016.

       Plaintiff’s Opposition relies on their suspicion that CT Corporation, BB&T’s registered

agent in West Virginia, has a “postal anomaly” with first class mail. Plaintiff’s Opposition ¶ 1.
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However, bare suspicion is all that the Plaintiff can muster. Despite two rounds of discovery,

Plaintiff can only provide anecdotal cases that apparently also allege other postal anomalies.

Allegations are not enough to create a genuine issue of material fact. The only evidence that

Plaintiff does rely on is CT Corporation’s own “Service of Process Transmittal” to their

Opposition that shows the “Date and Hour of Service” of the cease and desist letter to be “By

Regular Mail on 01/06/2016 postmarked on 12/21/2015.”                    See Exhibit A to Plaintiff’s

Opposition.1

        Plaintiff’s belief about CT Corporation is not “concrete evidence from which a

reasonable juror could return a verdict” for Plaintiff, Anderson v. Liberty Lobby, Inc., 477 U.S.

242, 256 (1986), because it cannot rise above a mere “scintilla of evidence.” Id. at 252. Even

more important is that “conclusory allegations or unsupported speculation, without more, are

insufficient to preclude the granting of a summary judgment motion. See Dash v. Mayweather,

734 F.3d 303, 311 (4th Cir. 2013); Stone v. Liberty Mut. Ins. Co., 105 F.3d 188, 191 (4th Cir.

1997) (emphasis added).        “At bottom, the district court must determine whether the party

opposing the motion for summary judgment has presented genuinely disputed facts which remain

to be tried. If not, the district court may resolve the legal questions between the parties as a

matter of law and enter judgment accordingly.” Thompson Everett, Inc. v. National Cable

Adver., L.P., 57 F.3d 1317, 1323 (4th Cir. 1995). Plaintiff’s anecdotal case references are

grasping attempts to formulate an argument on mere suspicions, not fact.

        Plaintiff’s Opposition cites no authority to support their hope that summary judgment can

be denied on the basis of their suspicions. Present in the record and attached to both Plaintiff’s

Opposition and BB&T’s Motion for Summary Judgment is the document evidencing that CT


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 CT Corporation’s “Service of Process Transmittal” is also attached to BB&T’s Memorandum in Support of its
Motion for Summary Judgment as Exhibit 4 to the Declaration of Bobby Taylor (itself attached as Exhibit A).

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Corporation received the cease and desist letter on January 6, 2016. For these reasons, Plaintiff

has not yet presented any issues as to genuine material facts that any of their claims should

survive this motion to dismiss. As such, summary judgment should be granted as to all of

Plaintiff’s counts.

        B.      Plaintiff’s Failure to Respond to His Pleading Deficiencies Signal
                Abandonment of Those Causes of Action.

        In addition to failing to present any issues of fact as to the date the cease and desist letter

was received, Plaintiff abandoned many of their causes of action by failing to respond. In its

Memorandum in Support of its Motion Summary Judgment (“BB&T’s Brief in Support”),

BB&T identifies deficiencies in Plaintiff’s Complaint for the following counts:

       Count II:       Violations of the West Virginia Consumer Credit Protection Act
        (“WVCCPA”) (“there is no evidence of any showing that BB&T failed to disclose its
        identity to Plaintiff”) BB&T Brief in Support at p. 8;

       Count IV: Violations of the Telephone Harassment Statute (“THS”) (“there is no private
        right of action under the THS, and West Virginia’s federal district courts have held that
        W. Va. Code § 55-7-9 cannot create a civil private right of action under § 61-8-16)
        (citations omitted) Id.;

       Count V: Negligence (“[Plaintiff] merely makes a conclusory statement that BB&T’s
        employees are negligently trained, without alleging [] the negligence elements as to any
        employee [as required under West Virginia law].”) BB&T Brief in Support at p. 9; and

       Count VI and VII: Intentional Infliction of Emotional Distress and Invasion of Privacy
        (“there is no allegation, much less evidence, that the calls were of vicious quality or
        would be highly offensive to a reasonable person.”) BB&T Brief in Support at p. 10-11.

        In Plaintiff’s Opposition, he does not rebut or refute these arguments. This Court, as it

has done before, may consider this a wavier or abandonment of these causes of action. Bourne v.

Mapother & Mapother, P.S.C., 998 F. Supp. 2d 495, 507 (S.D.W. Va. Feb. 12, 2014) (citing

Hooven-Lewis v. Caldera, 249 F.3d 259, 265 (4th Cir. 2001) and quoting Eady v. Veolia Transp.

Servs., Inc., 609 F. Supp. 2d 540, 560-61 (D.S.C. 2009) (“The failure of a party to address an



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issue raised in summary judgment may be considered a waiver or abandonment of the relevant

cause of action.”).

       Because Plaintiff’s Opposition fails to rebut BB&T’s arguments regarding his

deficiencies in pleading the necessary elements for the above claims, summary judgment should

at least be granted as to Counts II, IV, V, VI, and VII.

                                      V.     CONCLUSION

       Plaintiff fails to provide more than a “mere scintilla of evidence” by only stating mere

“conclusory allegations or unsupported speculation” rather than concrete evidence in their

response. Plaintiff also fails to rebut BB&T’s identified deficiencies in their complaint which

represents an abandonment of those causes of action. For these above reasons, Defendant

BB&T, by counsel, respectfully requests that the Court grant its Motion for Summary Judgment

and enter an Order dismissing Plaintiff’s Complaint and each and every claim therein with

prejudice and granting Defendant any further legal or equitable relief that the Court deems

appropriate.



Dated: May 18, 2017                                   Respectfully submitted,

                                                      BRANCH BANKING AND TRUST
                                                      COMPANY

                                                      By: /s/ Massie P. Cooper
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JOHN SCOTT CASTO, II,

                  Plaintiff,

           v.                                                      Civil Action No. 3:16-cv-05848

BRANCH BANKING AND
TRUST COMPANY,

                  Defendant.

                                   CERTIFICATE OF SERVICE

           I hereby certify that on this 18th day of May, 2017, I electronically filed the foregoing

document with the Clerk of the Court, using the CM/ECF system which shall send notification of

such filing to all counsel of record.

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